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 8                       UNITED STATES DISTRICT COURT
 9                     SOUTHERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,              Case No.: 18CR3043-DMS
11
                 Plaintiff,
12                                          ORDER AND JUDGMENT TO
                 v.                         DISMISS INDICTMENT WITHOUT
13                                          PREJUDICE
     DAVID QUINTANA,
14
15               Defendant.

16       Upon motion of the UNITED STATES OF AMERICA and good
17 cause appearing,
18       IT IS HEREBY ORDERED that the Indictment in Case No.
19 18CR3043-DMS against defendant DAVID QUINTANA be dismissed
20 without prejudice.
21        IT IS SO ORDERED.
22   Dated: September 7, 2018
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